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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA
__________________________________________
                                            )
JOHN DOE, proceeding under a pseudonym ,    )
      Batavia Detention Center              )
      4250 Federal Drive                    )   Civ. No. 24-617
      Batavia, NY 14020                     )
                           Plaintiff,       )
                                            )   COMPLAINT FOR
             v.                             )   DECLARATORY AND
                                            )   INJUNCTIVE RELIEF
UNITED STATES IMMIGRATION AND               )
CUSTOMS ENFORCEMENT,                        )
      500 12th Street, SW                   )
      Washington, DC 20536                  )
                           Defendant.       )
__________________________________________)


                                PRELIMINARY STATEMENT

       1.       Plaintiff John Doe (“Plaintiff” or “Mr. Doe”) brings this action under the Freedom

of Information Act (“FOIA”), 5 U.S.C § 552, seeking declaratory, injunctive, and other appropriate

relief to compel Defendant United States Immigration and Customs Enforcement (“ICE”) to

produce agency records improperly withheld from him.

       2.       The FOIA request, submitted on October 11, 2023 (the “FOIA Request”), seeks

records related to ICE unlawfully disclosing Mr. Doe’s personal identifying information and

explicit details about Mr. Doe’s pending immigration proceedings to the Nassau County, New York

District Attorney’s Office. Specifically, ICE disclosed documents related to his pending asylum

application, including the reasons Mr. Doe fears persecution due to his political opinion, the

physical harm and threats he has faced, his present-day political activity, and information

identifying his family members and detailing the persecution they continued to suffer in

ICE admitted the disclosure was in violation of its confidentiality obligations under 8 C.F.R. §


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208.6. The Nassau County District Attorney’s Office subsequently filed a portion of these records

in a publicly accessible state court file in Nassau County court.

       3.       Plaintiff seeks asylum based on his fear of persecution and torture at the hands of

the         government on account of his          identity, his pro-       political activities both in

and the United States, and his familial ties to          political activists. Two of Mr. Doe’s immediate

relatives are presently incarcerated in           for their alleged pro-        affiliation. As a result of

ICE’s unlawful disclosure, sensitive records regarding Mr. Doe’s history of persecution have

become public court filing, placing him and his family in further danger.

       4.       The FOIA Request also seeks expedited processing in light of the imminent threat

to his life and physical safety and his loss of substantial due process rights. 6 C.F.R. § 5.5(e).

       5.       To date, ICE has not produced any records in response to the FOIA Request and

denied expedited processing.

       6.       Plaintiff therefore brings this action to compel Defendant to immediately process

his FOIA Request and release records that have been unlawfully withheld.

                                  JURISDICTION AND VENUE

       7.       This Court has jurisdiction over this action pursuant to 5 U.S.C § 552(a)(4)(B).

       8.       Venue is proper in the District of Columbia pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).

       9.       Because Defendant has failed to comply with the time limits imposed by FOIA,

Plaintiff has exhausted his administrative appeals. 5 U.S.C. § 552(a)(6)(C)(i). Plaintiff is therefore

entitled to appeal directly to this Court for relief. 5 U.S.C.§ 552(a)(4)(B).

                                              PARTIES

       10.      Plaintiff John Doe is a citizen of         who is seeking protection in the United States

because he fears persecution and torture based on his political activity. Plaintiff has been detained


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in ICE custody since September 2021, and is presently incarcerated in the Buffalo Federal

Detention Facility in Batavia, New York. He submitted the FOIA Request on October 11, 2023.

          11.     Defendant United States Immigration and Customs Enforcement is a component of

the Department of Homeland Security that enforces immigration and customs law and is

responsible for the detention and removal of immigrants. Its headquarters are in Washington, DC.

                             LEGAL AND FACTUAL BACKGROUND

ICE Breached Its Duty To Preserve the Confidentiality of Information Related To Mr. Doe’s
Asylum Claim

          12.     Mr. Doe is a citizen of      who is seeking asylum in the United States because he

was persecuted and fears future persecution by the            government due to his involvement in a

       political party. He is also a relative of high-profile individuals incarcerated in        for their

alleged involvement in pro-         causes.

          13.              is a minority religion in          and          authorities have sought to

suppress          political activity both domestically and overseas. For example, at the end of 2023,

The Intercept reported the existence of secret government memo directing                    “consulates in

North America to launch a ‘sophisticated crackdown scheme’ against               diaspora organizations

in Western countries.’” 1 Around the same time, an               government employee was federally

indicted in the United States for allegedly directing a plot to assassinate an           national who is

a leader in the        political movement. 2



1



                                                                                    /.
2
    See Sealed Superseding Indictment,
                            Department of Justice,




                                                    3
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       14.     In 2017, Mr. Doe was placed into removal proceedings after he entered the United

States and reported a credible fear of return to          In his pending removal proceedings, he

applied for asylum, withholding of removal, and protection under the Convention Against Torture.

Since 2021, he has been detained in ICE custody.

       15.     Mr. Doe’s immigration proceedings, including his asylum application, are currently

pending before the Immigration Court. A merits hearing on his case will be held in New York on

March 20, 2024.

       16.     ICE, which acts as the prosecutor in removal proceedings, is prohibited from

disclosing to any third party “[i]nformation contained in or pertaining to any application for

refugee admission, asylum, withholding of under [8 U.S.C. § 1231(b)(3)], or protection under

regulations issued pursuant the Convention Against Torture’s implementing legislation . . . without

the written consent of the applicant, except as permitted by this section or at the discretion of the

Secretary of [Homeland Security].” 8 C.F.R.§ 208.6(a).

       17.     The purpose of this regulation is to “safeguard[] information that, if disclosed

publicly, could subject the [asylum] claimant to retaliatory measures by government authorities or

non-state actors in the event the claimant is repatriated, or endanger the security of the claimant’s

family members who may still be residing in the country of origin.” United States Citizenship and

Immigration Services, Fact Sheet: Federal Regulation Protecting the Confidentiality of Asylum

Applicants, Oct. 18, 2012. 3




york#:~:text=Today%20in%20the%20Southern%20District,citizen%20in%20New%20York%20
City;
3
 https://www.uscis.gov/sites/default/files/document/fact-sheets/Asylum-
ConfidentialityFactSheet.pdf.


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        18.     It is essential for victims of such disclosures to understand how much information

the government disclosed and to whom. Courts have highlighted the importance of access to this

information because the disclosures can form the basis of a meritorious asylum claim. See, e.g.,

Lin v. United States Dep’t of Justice, 359 F.3d 255, 268 (2d Cir. 2006) (“This new risk of

persecution [following unlawful disclosure of asylum-related material] may, independent of

[Lin’s] original claim, render him eligible for asylum and/or withholding of removal.”).

        19.     Upon information and belief, on or around May 30, 2023, ICE unlawfully disclosed

Mr. Doe’s personal identifiable information (“PII”) and information relat bed to his immigration

proceedings to the Nassau County District Attorney’s Office. Mr. Doe does not know the nature

of the communications that led ICE to disclose information about him to the office.

        20.     Several months before, on or around May 1, 2023, Mr. Doe had filed a motion

pursuant to New York Criminal Procedural Law § 440.10(1)(h) in Nassau County Supreme Court

to vacate a plea taken in a criminal proceeding that the Nassau County District Attorney’s Office

prosecuted.

        21.     The disclosure was not limited to basic information about Mr. Doe’s immigration

proceedings, but rather revealed explicit details about Mr. Doe’s asylum claim. In particular, the

documents disclosed included a copy of an immigration judge’s lengthy decision on his claims,

which discusses, in part: the various reasons Mr. Doe fears persecution by the          government,

the various attempts he has made to avail himself of protection in the United States, his pro-

activities in        the physical harm and threats he has faced, details surrounding the targeting of

his family members, and details of Mr. Doe’s own involvement in pro-             political activity in

the United States.




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       22.     The Nassau County District Attorney’s Office subsequently filed a portion of these

records—including the immigration judge’s asylum decision—in a publicly accessible state court

file in Nassau County court. To counsel’s knowledge, those filings are still publicly accessible.

       23.     On September 18, 2023, after Mr. Doe’s counsel alerted ICE to the disclosure, ICE

acknowledged that it had violated its confidentiality obligations. ICE indicated that it had, among

other steps, self-reported the violation to ICE’s Office of Professional Responsibility Joint Intake

Center, and agreed to join Mr. Doe in a motion to remand his immigration proceedings, which

were then on appeal before the Board of Immigration Appeals (“BIA”).

       24.     Based on the filings submitted by the Nassau County District Attorney’s Office, Mr.

Doe knows that, at a minimum, ICE unlawfully disclosed unredacted copies of: an immigration

judge’s 22-page decision in his case; his notice to appear (the document initiating his immigration

proceedings); a notice of custody determination regarding his ongoing detention; and a status

notice for a briefing schedule from the BIA. Mr. Doe does not whether ICE disclosed additional

information to the Nassau County District Attorney or if it disclosed information to any other third

party. Similarly, he does not know the circumstances of the unlawful disclosure or the names or

identities of the ICE employees responsible for it.

       25.     The FOIA Request seeks records to understand the extent and circumstances of

ICE’s unlawful disclosure. Not only does Mr. Doe fear that the disclosure of information about

his and his family’s political activities exposes them to an increased risk of persecution, but

information about ICE’s disclosure is also germane to Mr. Doe’s pending asylum claim in

immigration court.

Mr. Doe’s FOIA Request and ICE’s ongoing failure to comply with FOIA’s requirements.




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      26.       On October 12, 2023, Mr. Doe, through counsel, filed a FOIA Request with ICE

using ICE’s Online FOIA Portal. See Oct. 12, 2023 FOIA Request, Ex. A. The Request was

assigned case number 2024-ICFO-01546.

      27.       Mr. Doe’s FOIA request contained nine (9) items seeking records related to:

            •   ICE’s disclosure to third parties of his asylum application and related agency

                decisions;

            •   Communications between ICE and third parties regarding his asylum application

                and related agency decisions; communications between ICE and the Nassau County

                District Attorney’s Office regarding his asylum application and related agency

                decisions;

            •   Communications between ICE employees and from ICE employees to third parties

                regarding the sharing of his asylum application and related agency decisions;

            •   Any investigation by of ICE or another DHS component regarding the sharing of

                this information, and the number and identity of third parties provided access to

                this information;

            •   The number and identity of individuals at the Nassau County District Attorney’s

                Office to whom ICE sent a request to destroy, refrain from using or disclosing Mr.

                Doe’s protected information;

            •   The number and identity of any other individuals/entities to whom ICE has sent

                “clawback letters;” and

            •   Non-exempt written drafts and/or final conclusions regarding data breaches by ICE

                and the violation of Mr. Doe’s right to confidentiality and privacy.

      28.       Mr. Doe provided time periods for each of the requested items.



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       29.     Mr. Doe requested expedited processing of his FOIA request pursuant to ICE-

specific criteria provided at 6 C.F.R. § 5.5.

       30.     In support of expedited processing, Mr. Doe stated that “the lack of expedited

processing could reasonably be expected to pose an imminent threat to the life and safety of an

individual,” 6 C.F.R. § 5.5(e)(i), because individuals and entities seeking to harm him and his

family have an interest in the contents of the disclosed documents relating to persecution.

       31.     Mr. Doe also explained that, absent expedited processing, he would suffer “the loss

of substantial due process rights,” 6 C.F.R. § 5.5(e)(iii), because the unlawful disclosure would

constitute “a supplemental claim” in his remanded asylum proceedings. Specifically, Mr. Doe

would not be able to “properly articulate [this] claim . . . without knowing the full extent of the

specific [personal identifying information] and asylum-related information disclosed and who it

was disclosed to.” Mr. Doe drew ICE’s attention to caselaw indicating that ICE must provide him

all relevant information in order to facilitate a future claim for protection based on the disclosure.

       32.     FOIA requires that agencies “determine within 20 days (excepting Saturdays,

Sundays, and legal public holidays) after the receipt of any [FOIA] request whether to comply

with such request.” 5 U.S.C. § 552(a)(6)(A)(i).

       33.     A request for expedited processing must be granted or denied within ten calendar

days of the receipt of a FOIA request. 5 U.S.C. § (a)(6)(E)(ii)(I); 5 C.F.R. § 5.5(e)(4).

       34.     On October 18, 2023, ICE acknowledged the FOIA Request and requested that Mr.

Doe “resubmit your request containing a reasonable description of the records you are seeking.”

This request tolled the agency’s 20-day response period while ICE awaited Mr. Doe’s response. 5

U.S.C. § 552(a)(6)(A)(ii)(I)-(II).




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       35.      On November 16, 2023, Mr. Doe timely responded. See Nov. 16, 2023 Doe Ltr.

Response, Ex. B. The response emphasized that the initial request contained a reasonable

description that clearly and specifically identified the records sought. Nonetheless the response

also offered minor modifications to the requests to streamline the production of the responsive

documents.

       36.      On December 13, 2023, counsel for Mr. Doe contacted the ICE FOIA Office via

email to request a determination of Mr. Doe’s request for expedited processing and to inform the

office of Mr. Doe’s upcoming immigration court hearing, which was then scheduled for January

11, 2024.

       37.      On December 21, 2023, the ICE FOIA Office responded that the request for

expedited processing “was denied on 11/12/2023” and indicated that it had “queried the

appropriate component of DHS for responsive records and also sent a follow up query today- for

responsive records.”

       38.      Mr. Doe did not receive notice of ICE’s denial of expedited processing. The page

for his FOIA Request on the SecureRelease Portal, the service ICE uses to allow requestors to

check the status of a request, contains no record of a determination. ICE’s December 21, 2023

response did not describe the reason for the denial.

       39.      On January 9, 2024, Fayaz Habib, a prosecuting attorney in ICE’s Office of the

Principal Legal Advisor, advised Plaintiff’s immigration counsel that “our office provided

responsive/documents to the ICE FOIA department for processing.”

       40.      Mr. Doe’s FOIA Request has been pending for 76 business days, excluding the time

during which ICE’s response period was tolled.

       41.      To date, ICE has not provided any determination on Mr. Doe’s FOIA Request.




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        42.    ICE’s failure to provide responsive documents is extraordinarily prejudicial to Mr.

Doe. Because of ICE’s failure to respond, Mr. Doe does not know the extent of the unlawful

disclosure. Mr. Doe is now scheduled for a merits hearing in his immigration proceedings on

March 20, 2024, with an evidentiary deadline to support his asylum claims on March 15, 2024. A

comprehensive understanding of the unlawful disclosures are crucial to his asylum claim at the

upcoming hearing date. The disclosure has put Mr. Doe and his family members in danger of

further persecution and the responsive documents are necessary to understand the full scope of

harm.

                                     CLAIMS FOR RELIEF

                                 FIRST CAUSE OF ACTION
                           Failure to Respond Within Time Required
                          Freedom of Information Act: 5 U.S.C. § 552
        43.    Plaintiff realleges and incorporates by reference paragraphs 1 through 42 above.

        44.    Plaintiff properly requested records within the possession, custody, and control of

Defendant.

        45.    Defendant is an agency subject to FOIA and is therefore obliged under 5 U.S.C. §

552(a)(6)(A)(I) to produce records responsive to Plaintiff’s FOIA Request within 20 business days.

Defendant tolled this period by issuing a request for more information pursuant to 5 U.S.C. §

552(a)(6)(A)(ii)(I)-(II). The 20 business day period began to run again when Plaintiff timely

responded to the request for more information and has now expired. Defendant has failed to

produce any responsive records in response to Plaintiff’s FOIA Request within the statutory 20

business day period.

        46.    Plaintiff has a legal right to timely obtain records responsive to his request, and no

legal basis exists for Defendant’s failure to timely disclose them.




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       47.     Defendant’s failure to disclose all responsive records within the statutory timeframe

violates 5 U.S.C. §§ 552(a)(6)(A)(i) and (B) and has caused and will continue to cause Plaintiff

substantial harm.

                                 SECOND CAUSE OF ACTION
                    Failure to Conduct Adequate Search for Responsive Records
                           Freedom of Information Act: 5 U.S.C. § 552
       48.     Plaintiff realleges and incorporates by reference paragraphs 1 through 42 above.

       49.     Plaintiff properly requested records within the possession, custody, and control of

Defendant.

       50.     Defendant is an agency subject to FOIA and must therefore make reasonable efforts

to search for requested records.

       51.     Defendant has failed to promptly review agency records for the purpose of locating

those records that are responsive to Plaintiff’s FOIA Request.

       52.     Defendant’s failure to conduct an adequate search violates FOIA and has caused

and will cause Plaintiff substantial harm.

                                 THIRD CAUSE OF ACTION
                             Failure to Disclose Responsive Records
                          Freedom of Information Act: 5 U.S.C. § 552
       53.     Plaintiff realleges and incorporates by reference paragraphs 1 through 42 above.

       54.     Plaintiff properly requested records within the possession, custody, and control of

Defendant.

       55.     Defendant is an agency subject to FOIA and must therefore promptly produce

records responsive to Plaintiff’s FOIA Request. 5 U.S.C. § 552(a)(3).

       56.     Defendant has failed to disclose in a timely manner non-exempt agency records

requested by Plaintiff.




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        57.    Defendant’s failure to disclose responsive records violates FOIA and has caused

and will cause Plaintiff substantial harm.

                               FOURTH CAUSE OF ACTION
                             Failure to Grant Expedited Processing
                          Freedom of Information Act: 5 U.S.C. § 552
                          Implementing Regulation: 5 C.F.R. § 5.5(e)
        58.    Plaintiff realleges and incorporates by reference paragraphs 1 through 42 above.

        59.    Plaintiff properly requested records within the possession, custody, and control of

Defendants on an expedited basis.

        60.    Defendant is an agency subject to FOIA and must therefore process FOIA requests

on an expedited basis pursuant to the requirements of FOIA and agency regulations.

        61.    Plaintiff has demonstrated that he merits expedited processing (1) because the lack

of expedited processing could reasonably pose an imminent threat to his life and safety and the life

and safety of his family, and (2) because he faces the loss of substantial due process if he is unable

to formulate and properly articulate his asylum claim based on Defendant’s unlawful disclosure of

asylum-related information.

        62.    Defendant’s failure to grant Plaintiff expedited processing violates FOIA and ICE’s

regulation implementing expedited processing and has caused and will cause Plaintiff substantial

harm.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this Court grant the following relief:

        1)     Assume jurisdiction over this matter;

        2)     Order Defendant to process Plaintiff’s FOIA Request on an expedited basis;

        3)     Order Defendant to immediately conduct an adequate search for all records

        responsive to Plaintiff’s FOIA Request in accordance with 5 U.S.C. § 552(a)(3)(C);


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      4)     Order Defendant to expeditiously disclose all responsive, non-exempt records on

      or before March 10, 2024;

      5)     Declare that Defendant’s failure to conduct an adequate search violates 5 U.S.C. §

      552(a)(3)(C);

      6)     Declare that Defendant’s failure to disclose responsive records violates 5 U.S.C. §

      552(a)(3)(A);

      7)     Declare that Defendant’s failure to promptly produce responsive records violates 5

      U.S.C. §§ 552(a)(6)(A)(i) and (B);

      8)     Award Plaintiff his costs and reasonable attorneys’ fees in this action as provided

      for by the Equal Access to Justice Act, 28 U.S.C. § 2412, or other statute; and

      9)     Grant any other and further relief that this Court deems just and proper.



Dated: Brooklyn, NY                                  Respectfully submitted,
       March 5, 2024
                                                    /s/ Kevin Siegel
                                                   Kevin Siegel, Esq.*
                                                   Alexandra Lampert, Esq.*
                                                   Brooklyn Defender Services
                                                   177 Livingston Street, 7th Floor
                                                   Brooklyn, NY 11201
                                                   Tel: 410-530-6466
                                                   Email: ksiegel@bds.org
                                                   Pro Bono Counsel for Plaintiff

                                                   *Appearing pursuant to Local Rule 83.2(h) as
                                                   pro bono counsel on behalf of indigent
                                                   Plaintiff.




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